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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA


United States of America,                           Crim. File No. 12-295(2) (PAM/AJB)

                             Plaintiff,

v.                                                                               ORDER

Julie Ann Campana,

                             Defendant.

        __________________________________________________________

      This matter is before the Court on Defendant’s request that she be permitted to

voluntarily surrender to U.S. Marshals on September 11, 2013, rather than August 19, 2013.

      Based on the request, it is HEREBY ORDERED that Defendant is to surrender

herself to the Office of the United States Marshal in Minneapolis or at such other place as

the Marshal may designate by 11:00 a.m. on Wednesday, September 11, 2013.




Dated: August 6, 2013
                                                s/ Paul A. Magnuson
                                                Paul A. Magnuson
                                                United States District Court Judge
